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UN|TED STATES D|STR|CT COURT

 

 

THE D|STR|CT OF COLUMB|A
United States of America Criminal Docket No. 1:17~cr~201
(ABJ/DAR)
v. Judge Amy Be[man lacks _n
ve to lle GRANTED
Paul J. Manafort and Richard W. S/ZZ ltv
Gates ill Am' B h
Defendants Y - aCKSOn Date

United States District Judge

Emergency Motion to lntervene filed on behalf of all Americans

Sent the attached emai| (via U.S. Mail to Specia| Counse| Robert Mue||er and his staff of US Attorneys. l
also sent it to Attorney leff Sessions and Deputy Attorney Genera| Rod Rosenstein.

Do you really believe that Paul Manafort will be quiet and spend the rest of his life in jai|? Per ludge E|lis.
Do you believe that President Trump will allow his children and son-in-law to go to jai|?
Do you believe that President Trump will allow himself to be charged and go to jai|?

You can't allow this theatrical production of ”Sunarcissist Robert Mue||er and the Genocide of l\/lankind"
to play out any longer. You can't allow a criminal and corrupt prosecutor to represent the American
People when the stakes are the ”End of l\/|ankind". lf you let this go any further we will have Americans
fighting Americans. We will have blood is the streets. Math and time will bring the truth to light. The
longer you abrogate your responsibility the worse it will be.

The truth has to be told and Mue||er has to go, today. l guarantee that l\/luel|er will protect himself and
not the American Peop|e. He will stop the investigation and the prosecutions.

Godspeed

Sincerely,

David Andrew Christenson
Box 9063

|\/|iramar Beach, F|orida 32550
504-715-3086 - davidandrewchristenson@gmai|.com - dchristenson€@hotmail.com

 
 
 
 

l hereby certify that on M .
served the pie d`

 

David Andrew Christenson

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Sent to DOJ Attorneys: l will spend the rest of my life trying
to put you in jail for the Genocide of Mankind and l will
prevail because of time and math and the fact that it is true.

ignorance is no excuse in your job.

Sent: 8 March 14, 2018 3:38 PM
From: David Andrew Christenson davidandrewchristenson@protonmail.com

To: specialcounselpress@usdoj.gov specialcounselpress@usdoj.gov, Foreign Process (RCJ)
foreignprocess.rcj@hmcts.gsi.gov.uk, SupremelMerit SupremelMerit meritsbriefs@supremecourt.gov,
jroberts@mlaglobal.com jroberts@mlaglobal.com, davidandrewchristenson@gmail.com
davidandrewchristenson@gmail.com

Judge A. Jackson, March 13“‘, 2018
DCDC Judges: A. Jackson, E. Su|livan, R. Moss and D. Friedrich

EVDC: Judge: T.S. Ellis lll

5th Judges and Clerk: C. Stewart, P. Higginbotham and Clerk L. Cayce

EDLA: Judge G. Berrigan and Attorney Jane Roberts

This letter was mailed and emailed to the following US Attorneys that are working for Special Counse|
Robert lVlueller: Jeff Sessions, Rod J. Rosenstein, Michael Dreeben, Andrew Weissmann, Jeannie Rhee,
James Quarles, Aaron Zebley, Greg Andres, Zainab Ahmad, Aaron Zelinsky, Kyle Freeny, Andrew
Goldstein, Elizabeth Prelogar, Brandon Van Grack, Adam Jed, Rush Atkinson, Ryan K. Dickey, Aaron S. J.
Zelinsky, Scott l\/leisler and Brian Richardson.

l start with words from your fellow Federal Judge: Kurt Enge|hardt EDLA

Read the Horn Report (Much of the information in the Horn Report is still under Seal.)

(Why? The American People have a Constitutiona| Right to know the truth and the ramifications of what
took place in New Orleans.)

https://www.iustice.qov/@r/tile/884691/download
DEPARTMENT OF JUSTICE
OFFlCE OF
PROFESS|ONAL RESPONS|B|L\TY
REPORT

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investigation of Allegations of Professional Misconduct
Against Former Assistant United States Attorneys Sa|vador
Perricone and Jan Mann, United States Attorney’s Oftice
for the Eastern District of Louisiana
DECEMBER 20, 2013

NOTE: TH|S REPORT CONTA|NS lNFORMATlON FILED UNDER SEAL
lN UN|TED STATES V. BOWEN, ET AL., CR. NO. 10-204 (E.D. LA.), AS

WELL AS SENSIT|VE AND CONF|DENTIAL lNFORMATlON. DO NOT
D|STRIBUTE THE REPORT OR lTS CONTENTS WlTHOUT THE PRIOR
APPROVAL OF THE OFFICE OF PROFESSIONAL RESPONS|B|LITY.

Judge Kurt Enge|hardt's Order and Reasons (129 pages) that granted a new trial in the Danziger Civil
Rights Case

Case 2:10-cr-00204-KDE-SS Document 1137 Filed 09/17/13 Page 1 of 129 EDLA

The following are quotes from Chief Judge Kurt Enge|hardt who presided over the Danziger criminal case.
Danziger was the biggest Civil Rights case of the last 30 years. FB| Director Robert Mue||er was an integral
part of the criminal prosecution misconduct and coverup.

"Using liars lying to convict liars is no way to pursue iustice."

The following quote could be from any of the judges that are presiding over the Special Prosecutor cases:
Lying grosecutors using liars lying to convict liars is no way to pursue justice." The credibility of the
Special Prosecutor has to be called into question because of past criminal conduct by Robert Mue||er. The
credibility of those attorneys and investigators that are working for the Special Prosecutor must be called
into question as well. lf they honor the oath that they took, they would demand that Mue||er resign and be
prosecuted

For example, he took aim at Assistant U.S. Attorney General Thomas Perez, head of the Justice

Department's Civil Rights Division, Writing that Perez 'glibly resQonded" to some of Engelhardt's criticisms
after the sentencing by saying prosecutors can't gick witnesses ata "witness store. ”

Chief Judge Kurt (EDLA) Engelhardt added in the footnote that the cooperating defendants Were
hurchased bought and Mid for" with more lenient sentences "Mr. Perez's comment misses the poinL"

Engelhardt concluded

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[Here is a very scary point about the world that you have created. Secretary Thomas Perez was 11th in line

to be President when he was Secretary of Labor. ls this the world you want to leave your children and
grandchildren? Perez is going to run for President lt will be said that President Thomas Perez has no use
for the Federal Judiciary. His actions will confirm.]

Engelhardt delivered an eviscerating critique of the Department of Justice's prosecution and the harsh
charges it brought resulting in high mandatory minimum sentences

"the air of mendacitv at this trial was not limited to the actions of the defendants "

Each one of the US attorneys is poisoned fruit from a poisoned tree. Special Counse| Robert l\llueller
should be prosecuted for Crimes Against Humanity, Genocide, Misprision of a Fe|ony, l\llisprision of
Treason, Murder, Conspiracy, etc. Mueller and his team should be turned over to the lnternational Criminal
Court in The Hague. (This will happen. The world will demand it.)

This is the oath that US Attornevs swear to:

“l, name, do solemnly swear (or affirm) that l will support and defend the Constitution of the United States
against all enemies, foreign and domestic; that l will bear true faith and allegiance to the same; that l take
this obligation freely, without any mental reservation or purpose of evasion; and that l will well and faithfully
discharge the duties of the office on which l am about to enter. So help me God.”

18 U.S. Code § 4 - Misgrision of felony

Whoever, having knowledge of the actual commission of a felony cognizable by a court of the United
States, conceals and does not as soon as possible make known the same to some judge or other person in
civil or military authority under the United States, shall be fined under this title or imprisoned not more than
three yearsl or both.

(June 25, 1948, ch_ 645, 62 stat 684; Pub. L. 103-322, title XXXlll, § 330016(1)(6), Sept. 13, 1994, 108
stat 2147.)

18 U.S. Code § 2382 - Misgrision of treason

Whoever, owing allegiance to the United States and having knowledge of the commission of any treason
against them, conceals and does not, as soon as may be, disclose and make known the same to the
President or to some judge of the United States, or to the governor or to some judge or justice of a
particular State, is guilty of misprision of treason and shall be fined under this title or imprisoned not more
than seven years, or both.

(June 25, 1948, ch. 645, 62 Stat 807; Pub. L. 103-322, title Xxxm, § 330016(1)(H), sept 13, 1994, 108
stat 2147.)

3/15/20181:17 Pl

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4of4

Godspeed

Sincerely,

David Andrew Christenson

Box 9063

Miramar Beach, F|orida 32550
504-715-3086
davidandrewchristenson@qmail.com

dchristenson6@\otmail.com

Case 1:17-cr-00201-ABJ Document 211thWrteél»esvtztzraiew@age€aibrftthT9RWOJ lxwaqimjy.~

3/15/2018]:17PM

